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                            UNITED STATES DISTRICT COURT
                       IN THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DISTRICT
LESA WERME,
               Plaintiff,                                    Case No. 1:15-cv-00130
                                                             Hon. Janet T. Neff
-vs-


MORTGAGE CENTER, LLC and DOES 1-10, inclusive,
               Defendants.
________________________________________________________________________

                            JOINT NOTICE OF THE PARTIES
                      RE: STATUS OF SETTLEMENT DISCUSSIONS
                        AND REQUEST FOR ADDITIONAL TIME

       On May 1, 2015, the Court Ordered the parties to confer concerning reinstatement of

Plaintiff’s mortgage loan and resolution of the case as stated on the record, and to further file a

Joint Notice not later than May 15, 2015 regarding the status of their discussions. The parties,

through counsel, submit the following Status Report of their actions to-date and request

additional time to try and reach a resolution to the case:

       Ms. Werme, Mr. Finegood, and Mr. Myers spent approximately 90 minutes following the

May 1 hearing speaking in the Court’s jury room. The group discussed topics that included

whether Ms. Werme wanted to reinstate her loan, and some background associated with her

belief that there are defects that may impact the validity of her mortgage. No resolution was

reached at the end of this discussion.

       On Monday, May 4, 2015, Mr. Myers received a letter from Ms. Werme requesting that

Defendant Servicer retract its Foreclosure Notice in all those media and places published by it,

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and to similarly notify the various credit reporting agencies of the same, in order to properly

correct the record. Ms. Werme’s May 2nd letter also formally requested that she be provided

certain information pertaining to her lender and mortgagee.

       On Tuesday, May 12, 2015, counsel spoke by phone and Mr. Finegood explained what he

believed to be the applicable regulations governing Defendant’s attempt to foreclose Ms.

Werme’s home, and her concomitant right to a published retraction upon rescission of the Notice

of Foreclosure Sale published by Defendant - as requested in Ms. Werme’s May 2nd Letter

requesting retraction; along with other related terms of settlement. Later that evening, Mr.

Finegood sent a formal demand letter recounting Plaintiff’s proposed terms for resolution

discussed earlier in the day.

       Based on the content of Plaintiff’s May 2nd Retraction Request, and Plaintiff’s May 12th

letter, and counsels’ conversation of May 12, Plaintiff’s proposed resolution of the case requires

the parties to agree to more than just having Plaintiff tender payments that would bring her loan

current. Given such requests, Mortgage Center needs a brief extension of time to consider the

proposal.

       The parties therefore request an extension until May 29, 2015, to provide the Court with a

supplemental Joint Notice that identifies whether settlement has occurred or failed, and that

otherwise complies with the Court’s May 1 Order.




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Respectfully submitted:

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